AO 93 (Rev. 12/09) ShafdDina RIAA Wag OO8O-slc Document #: 1 Filed: 06/30/20 Page 1 of 39

 

UNITED STATES DISTRICT COURT
for the

Western District of Wisconsin
In the Matter of the Search of

Information associated with a Facebook account with user
ID: sire.gq, as identified in Attachment A, that is stored at
premises controlled by Facebook, Inc., a social networking
company located in Menlo Park, California.

Case No. 20-mj-80

Nee Ne Nee See Se Se

SEALED

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by an attorney for the government requests the search of the following person or property
located in the Northern District of California. ,

See Attachment A.

The person or property to be searched, described above, is believed to conceal:

See Attachment B.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the
information described in Attachment B.

YOU ARE COMMANDED to execute this warrant on or before JULY '4, 2020

 

(not to exceed 14 days)

[] in the daytime 6:00 a.m. to 10 p.m. x] at any time in the day or night as I find reasonable cause has been
established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
Stephen L. Crocker or United States Magistrate Judge Peter Oppeneer,

I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 and order Facebook not
to disclose to the provider either the existence of this warrant or of any disclosures made pursuant to the warrant.

Date and time issued: 6-30-20 ar 1:00 AM \

Judge's signature

Magistrate Judge Stephen L. Crocker or

Madison, Wisconsin Magistrate Judge Peter A. Oppeneer

 
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AO 93 (Rey. 12/09) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

Date:

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original

warrant to the designated judge.

 

Executing officer's signature

 

Printed name and title

 

 

 

 
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ATTACHMENT A
Property to Be Searched

This warrant applies to information associated with the Facebook user ID
“sire.gq” that is stored at premises owned, maintained, controlled, or operated by

Facebook, a company headquartered in Menlo Park, California.

 

 
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ATTACHMENT B}
Information to be disclosed by Facebook
To the extent that the information described in Attachment A is within the
possession, custody, or control of Facebook, including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to
disclose the following information to the government for each user ID listed in
Attachment A for the period from May 24, 2020 to the present:
(a) All contact and personal identifying information, including full name,
user identification number, birth date, gender, contact e-mail addresses,
Facebook passwords, Facebook security questions and answers, physical
address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identifiers.
(b) All activity logs for the account and all other documents showing the

user’s posts and other Facebook activities;

 

1 The United States, and its forensic and law enforcement partners (the government), will seize
the information described herein only for investigative purposes and for probable discovery
pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and
Federal Rules of Criminal Procedure 16(a)(1)(E) and 26.2. The government will examine the
seized information to identify information that is relevant to the matter under investigation and
will thereby exercise respect for the information owner's personal and Constitutional privacy
interests. Litigants are invited to contact the assigned AUSA to address privacy or other

concerns.

 
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(d)

(e)

(f)

(g)

All photos and videos uploaded by that user ID and all photos and videos
uploaded by any user that have that user tagged in them, including
Exchangeable Image File (“EXIF”) data and any other metadata associated
with those photos and videos;

All profile information; News Feed information, status updates; links to
videos, photographs, articles, and other items; Notes; Wall postings;
friend lists, including the friends’ Facebook user identification numbers;
groups and networks of which the user is a member, including the
groups’ Facebook group identification numbers; future and past event
postings; rejected “Friend” requests; comments; gifts; pokes; tags; and
information about the user’s access and use of Facebook applications;

All records or other information regarding the devices and internet
browsers associated with, or used in connection with, that user ID,
including the hardware model, operating system version, unique device
identifiers, mobile network information, and user agent string;

All other records and contents of communications and messages made or
received by the user, including all Messenger activity, private messages,
chat history, video and voice calling history, and pending “Friend”
requests;

All “check ins” and other location information;

 
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(h) ALL IP logs, including all records of the IP addresses that logged into the
account;

(i) All records of the account’s usage of the “Like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user
has “liked”;

(j) All information about the Facebook pages that the account is or was a
“fan” of;

(k) All past and present lists of friends created by the account;

(1) All records of Facebook searches performed by the account;

(m) All information about the user’s access and use of Facebook Marketplace;

(n) The types of service utilized by the user;

(0) The length of service (including start date) and the means and source of
any payments associated with the service (including any credit card or
bank account number);

(p) All privacy settings and other account settings, including privacy settings
for individual Facebook posts and activities, and all records showing
which Facebook users have been blocked by the account;

(q) All records pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including

contacts with support services and records of actions taken.

 
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(x)

Records relating to who created, used, or communicated with the user ID,

including records about their identities and whereabouts.
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AO 106 Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Western District of Wisconsin

In the Matter of the Search of

Information associated with a Facebook account with
user ID: sire.gq, as identified in Attachment A, that is
stored at premises controlled by Facebook, Inc., a
social networking company located in Menlo Park,
California.

Case No. 20-mj-80

—_—

SEALED

APPLICATION FOR A SEARCH WARRANT

I, Aaron Wegner, an attorney for the government, request a search warrant and state under penalty of perjury that I have
reason to believe that on the following person or property:

See Attachment A.

located in the Northern District.of California, there is now concealed:

See Attachment B.

The basis for the search under Fed. R. Crim. P, 41(c) is (check one or more):
x] evidence of a crime;
[-] contraband, fruits of crime, or other items illegally possessed,
[_] property designed for use, intended for use, or used in committing a crime;

[_] a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 844(4) causing damage by fire or an explosive

The application is based on these facts: See attached Affidavit.

 

Applicant's signature
wiles Art Fuirov, 5-A. ATE Ce

 

Printed name and title
TELEPHOMICALUY
Sworn to before me
WG,
NT

Date: 6-30-20

Judge's signature

. . . Magistrate Judge Stephen L. Crocker or
Madison, Wisconsin Magistrate Judge Peter A. Oppeneer

 
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AFFIDAVIT
STATE OF WISCONSIN _ )
) ss.
DANE COUNTY )

I, William Fulton, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I make this affidavit in support of an application for a search warrant for.
information associated with a certain Facebook user ID that is stored at premises
owned, maintained, controlled, or operated by Facebook, a social networking company
headquartered in Menlo Park, California. The information to be searched is described
in the following paragraphs and in Attachment A. This affidavit is made in support of
an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and
2703(c)(1)(A) to require Facebook to disclose to the government records and other
information in its possession, pertaining to the subscriber or customer associated with
the user ID.

2. Iam a Special Agent of the United States Justice Department, Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF), currently assigned to the Madison
Field. Office. I have been so employed since July of 2009. I am a graduate of the Federal
Law Enforcement Training Center Criminal Investigator Training Program, the
Department of Justice, Bureau of Alcohol Tobacco Firearms and Explosives Special
Agent Basic Training, and have received extensive training to qualify as an expert in fire

origin and cause investigations. Prior to my employment with the ATF, I was employed

 
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as a local fire marshal/fire investigator / fire fighter in the state of Virginia from June
1997 to December 2008.

3. It is my experience that many individuals involved in various crimes will
utilize the Internet and all Internet instrumentalities, such as e-mail, social media, and
other Internet-based programs, to conduct, promote, and facilitate their illegal activities.

4, The facts in this affidavit come from my personal observations, my
training and experience, and information obtained from other agents and witnesses.
This affidavit is intended to show merely that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

5. Based on my training and experience and the facts as set forth in this
affidavit, I submit there is probable cause to believe that a violation of 18 U.S.C. §§
844(i) has been committed by Marquon Clark, who has a Facebook account identified as
https: / /www.facebook.com/sire.gq, Facebook ID “sire.gq”. A preservation reservation
request was submitted for the Facebook account on June 24, 2020, and were confirmed
under Facebook Case Number 4985897. I submit there is also probable cause to search
the information described in Attachment A for evidence of these crimes and contraband
or fruits of these crimes, as described in Attachment B.

6. This investigation concerns alleged violations of Title 18, United States
Code, Section 844(i), which criminalize the anyone who maliciously damages or
destroys, or attempts to damage or destroy, by means of fire or an explosive, any
building, vehicle, or other real or personal property used in interstate or foreign

commerce or in any activity affecting interstate or foreign commerce.

 
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PROBABLE CAUSE

7. On June 23, 2020, surveillance cameras show Marquon CLARK walking
around different locations in downtown Madison. The following photographs from
June 23 were shown to Madison Police Department Sergeant Shannon Blackamore. _
Sergeant Blackamore has arrested CLARK on one previous occasion and had about five
other professional contacts with him. In each of the three photographs below, Sergeant
Blackmore identified CLARK as the individual circled in red, who is wearing a dark
colored straight brim hat with tan brim, a black hoodie sweatshirt, a white face
covering, faded jeans, brown shoes, and carrying a dark colored back pack with
tan/ brown arm straps. In addition, a black female in a black and pink North Face jacket

is seen walking with CLARK.

 
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8. In addition, I recognize CLARK from the following picture taken on June
23 from a business in downtown Madison. In the picture, I noticed that the rear of

CLARK’s backpack has contrasting piping.

 
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9. In the early evening on June 23, 2020, protestors in downtown Madison
surrounded a commercial tow truck. The wrecker was abandoned in front of the Dane
County Courthouse, at South Hamilton Street and North Henry Street, which is located
one block from the City-County Building (CCB) located at 210 Martin Luther Blvd.
Protesters catised the driver to evacuate and abandon his vehicle. A YouTube video

shows CLARK, standing on top of the tow truck, recording a video.1 During the video,

 

1 https: / /www.vyoutube.com/ watch?v=Rawl6Rq44uU

 
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CLARK makes the following statements - “We got a mother fucking tow truck,”

au

“Fuck12,” “We going to get that mother fucker, I promise you,” “it’s a revolution, come

downtown tonight it’s a about to go down, nigga.” A still image of CLARK from the

video is below.

 
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10. Later that night, at approximately 10:25 p.m., a group of approximately 10
to 12 cars were parked and blocking traffic in the roadway on the 200 block of N.
Carroll Street in Madison. The vehicles appeared to be unoccupied and blocked the
roadway between the CCB and the Dane County Public Safety Building (PSB).? In the
photograph below, CLARK can been seen wearing a dark colored straight brim hat with
tan brim, a black hoodie sweatshirt, a white face covering, faded jeans, and brown
shoes. He is wearing the same dark colored backpack with tan/brown arm straps and

contrasting piping that he was seen wearing earlier in the day.

 

2] am aware that the CCB houses the Madison Police Department, Dane County Dispatch (911
call center), and other city and county government offices.

 
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11. OnJune 24, 2020, at approximately 12:32 a.m.,a citizen approached the

closed CCB garage door and communicated with police officers on the inside. The
citizen informed officers that the group of people were threatening to start fires on the

Carroll Street side of the CCB.

12.  OnJune 24, 2020, at approximately 12:41 a.m., Dane County Dispatch
employees heard glass breaking near their workspace and smoke was observed in the
building. The CCB’s fire alarms were then activated and employees began to evacuate

the building.

13. Photographs from the exterior of the CCB building taken at same time

show CLARK throwing rocks through the windows of the CCB. After the windows
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were broken, CLARK threw a lit roll of paper towels into the CCB starting a fire, as
depicted in the photographs below. In the photographs, CLARK is wearing the same

dark colored backpack with tan/ brown arm straps and contrasting piping that he was

seen wearing earlier in the day.

 

 
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14. The following three photographs from the exterior of the CCB show what

appeats to be the same black female wearing a pink arid black North Face jacket who

was seen with CLARK earlier in the day.

 

 
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15. At the time CLARK set the CCB on fire, it was occupied by over 250

people. Officers responding to the CCB noticed a clear plastic bottle with a burned

wick in the neck of the bottle, outside of the building.

 

Inside the CCB, at the scene of the fire, investigators located a clear plastic bottle with a

burned neck inside the building as well.

 

 
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The quick actions of the deputies from the Dane County Sheriff’s Office prevented the

fire from extending beyond the cubical and its contents.

 

The Madison Fire Department responded to the extinguished fire to ventilate the
building. The Madison Fire Investigation Team responded to the scene to conduct the
origin and cause investigation. The Madison Fire Investigation Team determined the

fire was intentionally set, and classified the fire as Incendiary.

16. The CCBis the property of the City of Madison and Dane County. Both
the City of Madison and Dane County conduct business in interstate commerce, for

instance by purchasing vehicles and other equipment and supplies in interstate

 
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commerce. The activities of the City of Madison and Dane County in enacting and

enforcing laws also affect interstate commerce

17. During the course of my investigation, I found a Facebook account that
appears to belong to CLARK - https:/ /www.facebook.com/sire.gq. I know that “Sire

GQ’ is a nickname used by CLARK.

18. AsIreviewed the account, I saw the following Facebook post by CLARK

on the “Sire GQ” account.

  
 

. Sire Gq nee
June 21 at 8:22 AM: @&

Understand they not hearing us all we want is peace but fuck that today they
ain't seen pain yet they don't kno hurt it's a eye for a eye

Lature Elizabeth Carter
June 21 at 6:23 AM

 

A white worker from wandos hit my little niece Alizé Carter in the early hours this
morming. The driver has been apprehended Alize js in the hospital. She was h...

See More
1 2 Shares
(> Like () Comment > Share
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Press Eater ia post
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19. As I continued to review the account, I saw numerous Facebook Live
videos taken by CLARK on June 21, 2020, as he helped lead protests in downtown
Madison. In one of the videos from that day, he can be seen and heard leading the
following chant - “If we don’t get it, burn it down.” In addition, CLARK posted a
Facebook Live video from downtown Madison on June 23, 2020, as a large crowd yells

“Fuck 12” at a group of police officers.

20.  OnJune 24, 2020, Dane County Sheriff's Office filed a preservation request

with Facebook for https:/ /www.facebook.com/sire.ggq, Facebook ID “sire.gq”.
FACEBOOK

21. | Facebook owns and operates a free-access social networking website of
the same name that can be accessed at http://www.facebook.com. Facebook allows its
users to establish accounts with Facebook, and users can then use their accounts to
share written news, photographs, videos, and other information with other Facebook
users, and sometimes with the general public.

22. Facebook asks users to provide basic contact and personal identifying
information to Facebook, either during the registration process or thereafter. This
information may include the user’s full name, birth date, gender, contact e-mail
addresses, Facebook passwords, physical address (including city, state, and zip code),
telephone numbers, screen names, websites, and other personal identifiers. Facebook

also assigns a user identification number to each account.

 
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23. Facebook users may join one or more groups or networks to connect and
interact with other users who are members of the same group or network. Facebook
assigns a group identification number to each group. A Facebook user can also connect
directly with individual Facebook users by sending each user a “Friend Request.” If the
recipient of a “Friend Request” accepts the request, then the two users will become
“Friends” for purposes of Facebook and can exchange communications or view
information about each other. Each Facebook user’s account includes a list of that
user’s “Friends” and a “News Feed,” which highlights information about the user’s
“Friends,” such as profile changes, upcoming events, and birthdays.

24. Facebook users can select different levels of privacy for the
communications and information associated with their Facebook accounts. By
adjusting these privacy settings, a Facebook user can make information available only
to himself or herself, to particular Facebook users, or to anyone with access to the
Internet, including people who are not Facebook users. A Facebook user can also create
“lists” of Facebook friends to facilitate the application of these privacy settings.
Facebook accounts also include other account settings that users can adjust to control,
for example, the types of notifications they receive from Facebook.

25. Facebook users can create profiles that include photographs, lists of
personal interests, and other information. Facebook users can also post “status”
updates about their whereabouts and actions, as well as links to videos, photographs,
articles, and other items available elsewhere on the Internet. Facebook users can also

post information about upcoming “events,” such as social occasions, by listing the

 
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event's time, location, host, and guest list. In addition, Facebook users can “check in” to
particular locations or add their geographic locations to their Facebook posts, thereby
revealing their geographic locations at particular dates and times. A particular user's
profile page also includes a “Wall,” which is a space where the user and his or her
“Friends” can post messages, attachments, and links that will typically be visible to
anyone who can view the user’s profile.

26. Facebook allows users to upload photos and videos, which may include
any metadata such as location that the user transmitted when s/he uploaded the photo
or video. It also provides users the ability to “tag” (i.e., label) other Facebook users in a
photo or video. When a user is tagged in a photo or video, he or she receives a
notification of the tag and a link to see the photo or video. For Facebook’s purposes, the
photos and videos associated with a user’s account will include all photos and videos
uploaded by that user that have not been deleted, as well as all photos and videos
uploaded by any user that have that user tagged in them.

27. _ Facebook users can exchange private messages on Facebook with other
users. Those messages are stored by Facebook unless deleted by the user. Facebook
users can also post comments on the Facebook profiles of other users or on their own
profiles; such comments are typically associated with a specific posting or item on the
profile. In addition, Facebook has a chat feature that allows users to send and receive
instant messages through Facebook Messenger. These chat communications are stored

in the chat history for the account. Facebook also has Video and Voice Calling features,

 
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and although Facebook does not record the calls themselves, it does keep records of the
date of each call.

28. Ifa Facebook user does not want to interact with another user on
Facebook, the first user can “block” the second user from seeing his or her account.

29. Facebook has a “like” feature that allows users to give positive feedback
or connect to particular pages. Facebook users can “like” Facebook posts or updates, as
well as webpages or content on third-party (i.e., non-Facebook) websites. Facebook
users can also become “fans” of particular Facebook pages.

30. Facebook has a search function that enables its users to search Facebook
for keywords, usernames, or pages, among other things.

31. Each Facebook account has an activity log, which is a list of the user’s
posts and other Facebook activities from the inception of the account to the present.
The activity log includes stories and photos that the user has been tagged in, as well as
connections made through the account, such as “liking” a Facebook page or adding
someone as a friend. The activity log is visible to the user but cannot be viewed by
people who visit the user’s Facebook page.

32. Facebook also has a Marketplace feature, which allows users to post free
classified ads. Users can post items for sale, housing, jobs, and other items on the
Marketplace.

33. In addition to the applications described above, Facebook also provides its

_users with access to thousands of other applications (“apps”) on the Facebook platform.

When a Facebook user accesses or uses one of these applications, an update about that

 

 
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the user’s access or use of that application may appear on the user's profile page.

34. Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP
address. These logs may contain information about the actions taken by the user ID or
IP address on Facebook, including information about the type of action, the date and
time of the action, and the user ID and IP address associated with the action. For
example, if a user views a Facebook profile, that user’s IP log would reflect the fact that
the user viewed the profile, and would show when and from what IP address the user
did so.

35. Social networking providers like Facebook typically retain additional
information about their users’ accounts, such as information about the length of service
(including start date), the types of service utilized, and the means and source of any
payments associated with the service (including any credit card or bank account
number). In some cases, Facebook users may communicate directly with Facebook
about issues relating to their accounts, such as technical problems, billing inquiries, or
complaints from other users. Social networking providers like Facebook typically retain
records about such communications, including records of contacts between the user and
the provider's support services, as well as records of any actions taken by the provider
or user as a result of the communications.

36. As explained herein, information stored in connection with a Facebook
account may provide crucial evidence of the “who, what, why, when, where, and how”
of the criminal conduct under investigation, thus enabling the United States to establish

and prove each element or alternatively, to exclude the innocent from further suspicion.

 
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In my training and experience, a Facebook user's IP log, stored electronic
communications, and other data retained by Facebook, can indicate who has used or
controlled the Facebook account. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a residence. For
example, profile contact information, private messaging logs, status updates, and
tagged photos (and the data associated with the foregoing, such as date and time) may
be evidence of who used or controlled the Facebook account at a relevant time. Further,
Facebook account activity can show how and when the account was accessed or used.
For example, as described herein, Facebook logs the Internet Protocol (IP) addresses
from which users access their accounts along with the time and date. By determining
the physical location associated with the logged IP addresses, investigators can
understand the chronological and geographic context of the account access and use
relating to the crime under investigation. Such information allows investigators to
understand the geographic and chronological context of Facebook access, use, and
events relating to the crime under investigation. Additionally, Facebook builds geo-
location into some of its services. Geo-location allows, for example, users to “tag” their
location in posts and Facebook “friends” to locate each other. This geographic and
timeline information may tend to either inculpate or exculpate the Facebook account
owner. Last, Facebook account activity may provide relevant insight into the Facebook
account owner's state of mind as it relates to the offense under investigation. For
example, information on the Facebook account may indicate the owner’s motive and

intent to commit a crime (e.g., information indicating a plan to commit a crime), or
Case: 3:20-mj-0O0080-slc Document #:1 Filed: 06/30/20 Page 32 of 39

consciousness of guilt (e.g., deleting account information in an effort to conceal
evidence from law enforcement).

37. Therefore, the computers of Facebook are likely to contain all the material
described above, including stored electronic communications and information
concerning subscribers and their use of Facebook, such as account access information,
transaction information, and other account information.

INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

38.. lL anticipate executing this warrant under the Electronic Communications
Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using
the warrant to require Facebook to disclose to the government copies of the records and
other information (including the content of communications) particularly described in
Section I of Attachment B. Upon receipt of the information described in Section I of
Attachment B, government-authorized persons will review that information to locate
the items described in Section II of Attachment B.

CONCLUSION

39. Based on the foregoing, I request that the Court issue the proposed search
warrant.

40. Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer
is not required for the service or execution of this warrant. The government will
execute this warrant by serving it on Facebook. Because the warrant will be served on

Facebook, who will then compile the requested records at a time convenient to it,

 
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reasonable cause exists to permit the execution of the requested warrant at any time in
the day or night.

41. This Court has jurisdiction to issue the requested warrant because it is “a
court of competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a),
(b)(1)(A) & (c)(1)(A). Specifically, the Court is “a district court of the United States...
that - has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

42. Pursuant to 18 U.S.C. § 2703(¢g), the presence of a law enforcement officer
is not required for the service or execution of this warrant.

43. [request that the Court order Facebook not to notify any person
(including the subscribers or customers of the account(s) listed in Attachment A) of the
existence of the requested warrant before September 30, 2020, until further order of the
Court. Facebook is a provider of an electronic communication service, as defined in 18
U.S.C. § 2510(15), and/or a remote computer service, as defined in 18 USC. § 2711(2).
Pursuant to 18 U.S.C. § 2703, I seek a warrant requiring Facebook to disclose records
and information in connection with a criminal investigation. This Court has authority
under 18 U.S.C. § 2705(b) to issue “an order commanding a provider of electronic
communications service or remote computing service to whom a warrant ... is directed,
for such period as the court deems appropriate, not to notify any other person of the
existence of the warrant ....” Id.

44. Here, such an order is appropriate because the requested warrant relates
to an ongoing criminal investigation that is neither public nor known to all of the

targets of the investigation, and its disclosure may alert the targets to the ongoing
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investigation. Accordingly, there is reason to believe that notification of the existence of |
the requested warrant will seriously jeopardize the investigation, by: giving targets an
opportunity to flee from prosecution, destroy or tamper with evidence, intimidate
potential witnesses or otherwise seriously jeopardize an investigation. See 18 U.S.C. §
2705(b). 2

45. Based on the forgoing, I request that the Court issue the proposed search
warrant. Because the warrant will be served on Facebook who will then compile the
requested records at a time convenient to it, there exists reasonable cause to permit the
execution of the requested warrant at any time in the day or night.

ny
Dated this 20 day of June 2020.

 

WILLIAM FULTON
Special Agent, ATF

Subseribed-and-sworn to before me telephonically on __@-30- 20

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2
Slo |

STEPHEN L. CROCKER
United States Magistrate Judge
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ATTACHMENT A
Property to Be Searched

This warrant applies to information associated with the Facebook user ID
“sire.gq” that is stored at premises owned, maintained, controlled, or operated by

Facebook, a company headquartered in Menlo Park, California.

 
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ATTACHMENT B1
Information to be disclosed by Facebook
To the extent that the information described in Attachment A is within the
possession, custody, or control of Facebook, including any messages, records, files, logs,
or information that have been deleted but are still available to Facebook, or have been
preserved pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to
disclose the following information to the government for each user ID listed in
Attachment A for the period from May 24, 2020 to the present:
(a) All contact and personal identifying information, including full name,
user identification number, birth date, gender, contact e-mail addresses,
Facebook passwords, Facebook security questions and answers, physical
address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identifiers.
(b) All activity logs for the account and all other documents showing the

user’s posts and other Facebook activities;

 

1 The United States, and its forensic and law enforcement partners (the government), will seize
the information described herein only for investigative purposes and for probable discovery
pursuant to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and
Federal Rules of Criminal Procedure 16(a)(1)(E) and 26.2. The government will examine the
seized information to identify information that is relevant to the matter under investigation and
will thereby exercise respect for the information owner's personal and Constitutional privacy
interests. Litigants are invited to contact the assigned AUSA to address privacy or other

concerns.
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All photos and videos uploaded by that user ID and all photos and videos
uploaded by any user that have that user tagged in them, including
Exchangeable Image File (“EXIF”) data and any other metadata associated
with those photos and videos;

All profile information; News Feed information, status updates; links to
videos, photographs, articles, and other items; Notes; Wall postings;
friend lists, including the friends’ Facebook user identification numbers;
groups and networks of which the user is a member, including the
groups’ Facebook group identification numbers; future and past event
postings; rejected “Friend” requests; comments; gifts; pokes; tags; and
information about the user’s access and use of Facebook applications;

All records or other information regarding the devices and internet
browsers associated with, or used in connection with, that user ID,
including the hardware model, operating system version, unique device
identifiers, mobile network information, and user agent string;

All other records and contents of communications and messages made or
received by the user, including all Messenger activity, private messages,
chat history, video and voice calling history, and pending “Friend”
requests;

All “check ins” and other location information;
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(h) ALL IP logs, including all records of the IP addresses that logged into the
account;

(i) All records of the account's usage of the “Like” feature, including all
Facebook posts and all non-Facebook webpages and content that the user
has “liked”;

(j) All information about the Facebook pages that the account is or was a
“fan” of;

(k) All past and present lists of friends created by the account;

(1) All records of Facebook searches performed by the account;

(m) All information about the user’s access and use of Facebook Marketplace;

(n) The types of service utilized by the user;

(0) The length of service (including start date) and the means and source of
any payments associated with the service (including any credit card or
bank account number);

(p) All privacy settings and other account settings, including privacy settings
for individual Facebook posts and activities, and all records showing
which Facebook users have been blocked by the account;

(q)  Allrecords pertaining to communications between Facebook and any
person regarding the user or the user’s Facebook account, including

contacts with support services and records of actions taken.
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(r) Records relating to who created, used, or communicated with the user ID,

including records about their identities and whereabouts.
